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2
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6

7                                 UNITED STATES DISTRICT COURT
8                                         DISTRICT OF NEVADA
9
     DARLENE ISAAC;and HAROLD ROLAND                          Case No.:2:19-cv-1452
10   HOW MAN, JR.,
11                          Plaintiffs,                       Werner Enterprises, Inc’s Jury
                                                              Demand & Answer to Complaint
12    vs.
13   NICHOLAS FORCILLO, an individual, W ERNER
     ENTERPRISES, INC., a foreign corporation,
14   DOES I through X, inclusive;and/or ROE
     CORPORATIONS I through X, inclusive,
15
                            Defendants.
16

17
            W erner Enterprises requests a jury trial and answers the complaint as follows:
18
       1. Admit.
19
       2. W erner lacks information sufficient to determine whether the allegations in this paragraph
20
            are accurate. It must deny them at this time.
21
       3. W erner lacks information sufficient to determine whether the allegations in this paragraph
22
            are accurate. It must deny them at this time.
23
       4. This paragraph contains no factual allegations. If it does, they are denied.
24
       5. W erner lacks information sufficient to determine whether the allegations in this paragraph
25
            are accurate. It must deny them at this time.
26
       6. Admit.
27
       7. W erner admits the factual allegations in this paragraph, with the exception that it is
28
            organized in Nebraska.
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1    8. This paragraph contains no factual allegations. If it does, they are denied.

2    9. W erner lacks information sufficient to determine whether the allegations in this paragraph

3       are accurate. It must deny them at this time.

4    10. W erner lacks information sufficient to determine whether the allegations in this paragraph

5       are accurate. It must deny them at this time.

6    11. W erner lacks information sufficient to determine whether the allegations in this paragraph

7       are accurate. It must deny them at this time.

8    12. W erner lacks information sufficient to determine whether the allegations in this paragraph
9       are accurate. It must deny them at this time.

10   13. W erner admits that Mr. Forcillo was within the course and scope of his agency with W erner

11      at the times relevant to this case. W erner denies the remaining allegations in this paragraph.

12   14. W erner admits Plaintiffs’truck was parked at the TA truck stop located at 8050 Dean

13      Martin Drive in Clark County, Nevada, but lacks information sufficient to determine

14      whether the remaining allegations in this paragraph are accurate. It must deny them at this

15      time.

16   15. Admit, except that the direction of travel may have been west to south.

17   16. Admit.

18   17. Admit.

19   18. Admit.

20   19. W erner admits that Mr. Forcillo was within the course and scope of his agency with W erner

21      at the times relevant to this case.

22   20. W erner repeats its responses to the preceding paragraphs.

23   21. Admit.

24   22. Admit.

25   23. Deny.

26   24. Deny.

27   25. Deny.

28   26. W erner repeats its responses to the preceding paragraphs.
                                                   -2-
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1    27. W erner admits that Mr. Forcillo was within the course and scope of his agency with W erner

2       at the times relevant to this case and that he was driving the vehicle on July 4, 2017.

3    28. Admit.

4    29. W erner repeats its responses to the preceding paragraphs.

5    30. Deny.

6    31. Deny.

7    32. Deny.

8    33. Deny.
9    34. Deny.

10   35. Deny.

11   36. Deny.

12   37. Deny.

13   38. Deny.

14   39. Deny.

15   40. W erner repeats its responses to the preceding paragraphs.

16   41. Deny.

17   42. Deny.

18   43. Admit.

19   44. Admit.

20   45. Deny.

21   46. Deny.

22                                       Affirmative Defenses

23   1. The events described in the complaint were caused by the acts or omissions of a third

24      person or persons over whom W erner had no control.

25   2. Plaintiffs were comparatively negligent.

26   3. Plaintiffs did not mitigate damages.

27   4. The damages Plaintiffs allege were proximately caused by an intervening, superseding

28      cause.
                                                   -3-
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1                                          Request for Relief

2          W erner requests the case be dismissed with prejudice.

3          DATED this 21st day of August, 2019.

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5

6                                        BY:/s/ Michael Lowry
                                            MICHAEL P. LOW RY, ESQ.
7                                           300 South 4th Street, 11th Floor
                                            Las Vegas, NV 89101-6014
8                                           Tel:702.727.1400/Fax:702.727.1401
                                            Attorneys for W erner Enterprises, Inc.
9

10                                       Certificate of Service
11        Pursuant to FRCP5, I certify that I am an employee of W ilson Elser MoskowitzEdelman &
12   Dicker LLP, and that on August 21, 2019, I served Werner Enterprises, Inc.’s Jury Demand &
13   Answer to Complaint as follows:
14               by placing same to be deposited for mailing in the United States Mail, in a sealed
                 envelope upon which first class postage was prepaid in Las Vegas, Nevada;
15
                 via electronic means by operation of the Court’s electronic filing system, upon each
16               party in this case who is registered as an electronic case filing user with the Clerk;
17    Adam Ganz, Esq.
      Majorie Hauf, Esq.
18    GANZ& HAUF
      8950 W . Tropicana Avenue, Ste. 1
19    Las Vegas, NV 89147
      Attorneys for Darlene Isaac and Harold Roland
20    Howman, Jr
21
                                      BY: /s/ Michael Lowry
22
                                          An Employee of
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